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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:                                                   Case No. 24-12797-RAM

7233 LOS PINOS, LLC,                                     Chapter 11 (Sub V)

      Debtor.
_______________________________/

 DEBTOR’S EXPEDITED MOTION FOR ENTRY OF AN ORDER PURSUANT TO 11
U.S.C. § 364 AUTHORIZING THE DEBTOR TO OBTAIN POST-PETITION SECURED
                FINANCING AND GRANTING RELATED RELIEF

                        (Expedited Hearing Requested For May 9, 2024)

                              Statement of Exigent Circumstances

                The Debtor requests that the Court conduct an expedited
                hearing on this Motion on May 9, 2024 or as soon as
                practical thereafter. The Debtor’s homeowners
                insurance policy is set to be cancelled after May 10, 2024.
                To avoid cancellation, the Debtor must satisfy an
                outstanding insurance premium before the end of the
                day on May 10, 2024. The relief sought by this Motion
                will allow the Debtor access to cash necessary to pay the
                premium. Accordingly, expedited relief is proposed to
                facilitate the payment.

         Debtor-in-Possession, 7233 Los Pinos, LLC, as the debtor and debtor-in-possession in the

above-captio (the “Debtor”), files this Motion for Entry of An Order Pursuant To 11 U.S.C. §364

Authorizing The Debtor To Obtain Post-petition Secured Financing And Granting Related Relief,

and in support hereof states as follows:

                                           JURISDICTION

         1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334.

         2.     This is a core proceeding pursuant to 28 U.S.C. § 157(b).
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       3.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                       BACKGROUND

A.     General Background

       4.      On March 25, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code, thereby commencing the above-captioned

bankruptcy case (this “Case”). The Debtor is authorized to continue operating its business as

debtor-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       5.      The Debtor is a limited liability company which owns a single residential real

property asset located at 7233 Los Pinos Blvd., Coral Gables, Florida (the “Property”).

       6.      The Property is insured by Vault E&S Insurance Company.

       7.      The Debtor requires access to cash in order to satisfy an outstanding insurance

premium installment due for homeowners insurance coverage. The April installment initially

became due on April 1, 2024. The deadline to make the payment before the policy is cancelled is

May 11, 2024 at 12:00 a.m.

                                    RELIEF REQUESTED

       8.      By this motion, the Debtor seeks entry of an order—

       A. Authorizing the Debtor to (i) obtain post-petition, secured debtor-in-possession
          financing in an aggregate principal amount of up to $25,000.00 (the “DIP Facility”)
          pursuant to the terms and conditions of the Interim Order and the DIP Credit Term
          Sheet (as defined below) by and between the Debtor, as borrower, and Jennie Frank
          Kapoor (the “Lender”), and (ii) incur the obligations under the DIP Term Sheet (the
          “DIP Obligations”) and any related agreements, documents, certificates and
          instruments delivered or executed from time to time in connection therewith, as
          amended, restated, or otherwise modified from time to time in accordance with the
          terms thereof and hereof, collectively, the “DIP Documents”);

       B. Authorizing the Debtor to execute and enter into the DIP Documents and to perform
          their respective obligations thereunder and such other and further acts as may be
          required in connection with the DIP Documents as such amounts become due and
          payable;


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       C. Authorizing the Debtor to give administrative priority status to the amounts borrowed
          in accordance with §§ 503(a) and 507(a)(2) of the Bankruptcy Code.



                                      BASIS FOR RELIEF

The Proposed Financing

       9.      The Debtor’s sole asset is a residential property located in Coral Gables, Florida.

The property has an estimated value in excess of $7 million.

       10.     Pre-petition, the Debtor obtained insurance premium financing in order to insure

the property (the “Financing”). The Financing requires quarterly installment payments in the

approximate amount of $22,026.25.

       11.     To satisfy the outstanding April 2024 installment, Jennie Frank Kapoor, an affiliate

of the Debtor, has agreed to extend financing to the Debtor on a secured basis on terms that are

believed to be much more competitive than any financing available in the traditional markets. This

financing would be interest-free, not subject to any fees or charges, and accessible to the Debtor

immediately. Jennie Frank Kapoor’s rights in connection with this financing will be protected by

an administrative claim and junior lien on the Property in an amount consistent with the premium

advanced.

       12.     A form of agreement memorializing these terms is attached hereto as Exhibit A

(the “DIP Credit Term Sheet”).

       13.     Given the amount in question and the favorable terms offered by Jennie Frank

Kapoor, the Debtor is confident that it would be unable to match, much less beat, such terms

through financing from an outside lender. It is axiomatic that institutional lenders would seek a

reasonable rate of interest as compensation for the value and risk of a loan, and most lenders would

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be expected to require the Debtor to pay fees and other charges. Because the proposed financing

by Jennie Frank Kapoor does not require the payment of fees or charges, the Debtor has not

attempted to shop the loan around.

       14.       Consistent with the disclosure requirements of Fed. R. Bankr. P. 4001 and Local

Rule 4001-3, the following table summarizes the significant terms of the DIP Facility and the

Interim Order:

                                       Summary of Relevant Provisions

                         Material Terms                                  DIP Facility

             •    Borrower                                7233 Los Pinos, LLC

             •    Lender                                  Jennie Frank Kapoor

             •    Purpose and Limitation of Use of Proceeds of the loans shall be used to fund
                  Proceeds                         the Debtor’s post-petition insurance
                                                   premium obligations
             •    Security                         Junior Lien

             •    Interest Rate                           None

             •    Maturity                                Unless otherwise agreed by Jennie Frank
                                                          Kapoor, the DIP Financing shall be
                                                          repayable upon the earliest of (a) 5 days
                                                          after a written demand for repayment is
                                                          filed by Jennie Frank Kapoor with the
                                                          Court and served upon the Debtor and the
                                                          Debtor’s attorney, (b) entry of an order
                                                          dismissing this case or converting this case
                                                          to a case under Chapter 7, and (c) the
                                                          occurrence of the effective date under a
                                                          confirmed plan in this case.
             •    Fees                                    None

             •    Conditions Precedent to Lending         None other than order approving the DIP

                                                          Financing.

             •    Priority of Claims                      The obligations under the DIP Facility will
                                                          constitute administrative claims, pari

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                                          passu with other administrative claims in
                                          this case except voluntarily subordinated
                                          to any claims of the Debtor’s
                                          professionals.
•    Provisions        Granting     Cross None
     collateralizing
•    Provisions or findings of fact that      None
     bind the estate or other parties in
     interest with respect to the validity,
     perfection or amount of the secured
     creditor’s prepetition lien or the
     waiver of claims against the secured
     creditor without first giving parties
     in interest at least seventy-five (75)
     days from the entry of the order and
     the creditors’ committee, if formed,
     at least sixty (60) days from the date
     of its formation to investigate such
     matters
•    Provisions that seek to waive,           None
     without notice, whatever rights the
     estate may have under 11 U.S.C. §
     506(c)
•    Provisions that immediately grant        None
     to the prepetition secured creditor
     liens on the debtor’s claims and
     causes of action arising under 11
     U.S.C. §§ 544, 545, 547, 548 and
     549
•    Provisions that deem prepetition         None
     secured debt to be post-petition debt
     or that use post-petition loans from
     a prepetition secured creditor to pay
     part or all of that secured creditor’s
     prepetition debt, other than as
     provided in 11 U.S.C. § 552(b)
•    Provisions that provide disparate        None
     treatment for the professionals
     retained by a creditors’ committee
     from those professionals retained
     by the debtor with respect to a
     professional fee carve-out
•    Provisions that prime any secured        None
     lien without the consent of that
     lienor.


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             •    Provisions that seek to affect the None
                  Court’s power to consider the
                  equities of the case under 11 U.S.C.
                  § 552(b)(1)


       15.       Given the current state of the Debtor’s financial affairs, the Debtor does not believe

that it could possibly obtain financing on better terms.

       16.       The Debtor qualifies for relief under § 364 of the Bankruptcy Code, which provides,

in relevant part—

                 (c)If the trustee is unable to obtain unsecured credit
                 allowable under section 503(b)(1) of this title as an
                 administrative expense, the court, after notice and a hearing,
                 may authorize the obtaining of credit or the incurring of
                 debt—

                 (1) with priority over any or all administrative expenses of
                 the kind specified in section 503(b) or 507(b) of this title;
                 (2) secured by a lien on property of the estate that is not
                 otherwise subject to a lien; or
                 (3) secured by a junior lien on property of the estate that is
                 subject to a lien.

11 U.S.C. § 364(c).

       A.        Alternative Financing Is Not Available to the Debtor.

       17.        While the Debtor has not shopped for any other loan, the Debtor respectfully

submits that it could not possibly obtain financing on terms more favorable than the DIP Facility.

The economic reality is that no potential lender would loan money to the Debtor to pay

administrative claims without requiring security, interest, and fees. The Debtor does not believe

that it has assets that would provide the security and liquidity to a third-party junior lender in order

to obtain the financing provided in the DIP Facility. Most lenders use fees and charges to generate

their profit, and this loan has none of those. Furthermore, in light of the economics of this case,

most lenders require a more substantial borrowing than the amounts the Debtor is seeking in

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financing, in order for lenders to justify the risk and value of advances to be made. Accordingly,

the Debtor respectfully submits that the DIP Facility is the best available post-petition financing

for the Debtor.

        B.        The Terms of the DIP Facility are Fair, Reasonable, and Adequate under the
                  Circumstances.

        18.       In considering whether the terms of post-petition financing are fair and reasonable,

courts consider the terms in light of the relative circumstances of both the debtor and potential

lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 20013); see also

Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Ellingsen

MacLean Oil Co.), 65 B.R. 358, 365 (W.D. Mich. 1986) (a debtor may have to enter into hard

bargains to acquire funds).

        19.       Insurance is necessary to preserve the value of the Debtor’s sole asset. The terms

of the DIP Facility are not only fair but represent the most cost effective solution for meeting this

obligations until such time as the Debtor may sell the Property. The relief sought is appropriate,

reasonable, and in the best interests of the Debtor, its estate, and his creditors.

        C.        Entering into the DIP Facility Reflects the Debtors’ Reasonable Business
                  Judgment and Is Consistent with the Entire Fairness Doctrine.

        20.       Courts ordinarily view a debtor’s proposed DIP loan under the business-judgment

rule. See, e.g., In re Simasko Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985) (“business judgments

should be left to the board room and not to this Court”); In re Lifeguard Indus., Inc., 37 B.R. 3, 17

(Bankr. S.D. Ohio 1983) (same); In re Curlew Valley Assocs., 14 B.R. 506, 511-13 (Bankr. D.

Utah 1981) (courts generally will not second-guess a debtor’s business decisions where those

decisions constitute “a business judgment made in good faith, upon a reasonable basis, and within

the scope of its authority under the Code”); In re Weaver Oil Co., Inc., 2008 WL 8202063, at *2



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(Bankr. N.D. Fla. 2008) (“Under the “business judgment rule,” the Bankruptcy Court recognizes

that it is “no more equipped to make subjective business decisions for insolvent businesses than

[the Court is] for solvent businesses,” and the formulation of the business judgment rule in

corporate litigation is also the appropriate formulation of the business judgment rule in the

Bankruptcy Court”). “More exacting scrutiny would slow the administration of the debtor’s estate

and increase its costs, interfere with the Bankruptcy Code’s provision for private control of

administration of the estate, and threaten the court’s ability to control a case impartially.”

Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985)

        21.     Consistent with this authority, the Debtor’s decision to enter into the DIP Facility

is the culmination of the Debtor’s good faith efforts to procure the best available financing under

the circumstances. Here, in the exercise of its business judgment, the Debtor has determined that

entry into the DIP Facility is necessary to preserve the primary assets of its estate and is in the best

interests of creditors.

        22.     In a transaction between the estate and an insider of the debtor, however, courts

may use the more rigorous standard of the entire fairness doctrine. See In re Los Angeles Dodgers

LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011). This test requires the Debtor to show proof of fair

dealing and fair price and terms. Id. (citing Moran v. Household Int’l, Inc., 500 A.2d 1346 (Del.

Supr.1985)). Even under this more stringent standard, the Debtor is confident that the terms and

price are fair and that there has been no unfair dealing. Because the proposed financing will impose

virtually no expense to the estate, it is difficult to fathom that any other source of financing could

match the proposed terms, much less improve upon them.

        23.     The DIP Facility does not purport to prime other liens or security interests in the

Debtor’s assets.



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         24.   Under the authorities cited herein the Court may properly grant the relief requested.

         WHEREFORE, the Debtor respectfully requests that the Court enter an order: (a)

authorizing the Debtor to obtain post-petition financing in accordance with the terms of the DIP

Credit Term Sheet and the proposed order submitted herewith, and (b) granting the Debtor such

other and further relief as the Court may deem proper.

Dated this 8th day of May, 2022.
                                               Respectfully submitted,

                                               DGIM Law, PLLC
                                               Counsel for the Debtor,
                                               2875 NE 191st Street, Suite 705
                                               Aventura, FL 33180
                                               Phone: (305) 763-8708

                                               /s/ Monique D. Hayes
                                               Isaac Marcushamer, Esq.
                                               Florida Bar No. 0060373
                                               isaac@dgimlaw.com
                                               Monique D. Hayes, Esq.
                                               Florida Bar No. 0841573
                                               monique@dgimlaw.com



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on this May 8, 2024, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF and that a true and correct copy of the

foregoing was served via CM/ECF electronic transmission upon those parties who are registered

to receive notifications in this matter, and via U.S. Mail to parties who are not registered, as shown

below.

                                                       By: /s/ Monique D. Hayes
                                                              Monique D. Hayes, Esq.



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                EXHIBIT A




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                                      7233 LOS PINOS

                 SUMMARY OF TERMS AND CONDITIONS FOR UP TO $25,000
                        DEBTOR-IN-POSSESSION FINANCING

The following describes the terms of certain debtor-in-possession financing (“DIP Loan”) to be
provided to 7233 Los Pinos, LLC during the pendency of the case filed under Chapter 11 of the
United States Bankruptcy Code (the “Bankruptcy Code”) styled In re: 7233 Los Pinos, LLC,
pending in the Bankruptcy Court (the “Chapter 11 Case”).

This term sheet (the “Term Sheet”) and the DIP Lender’s (as defined below) commitment and
other obligations hereunder are subject to satisfaction or waiver (by the DIP Lender in its sole
discretion) of the following: (i) the preparation, execution and delivery of mutually acceptable
loan documentation, incorporating substantially all of the terms and conditions outlined in this
Term Sheet (“DIP Loan Documents”); (ii) the Debtor’s compliance with the terms of this Term
Sheet. The terms and conditions set forth herein are mutually dependent on each other, and the
DIP Lender shall not be obligated to extend credit unless agreement with the Debtor and
approval by the Bankruptcy Court is obtained with respect to such terms and conditions as a
whole.

Borrower              7233 Los Pinos, LLC (“Los Pinos,” the “Debtor,” or “Borrower”) in
                      the Chapter 11 Case filed on March 25, 2024 (the “Petition Date”)

Guarantors            None.

DIP Lender            Jennie Frank Kapoor

Property              The “Property” shall mean the real and personal property owned by the
                      Debtor.

Amount                The DIP Loan shall comprise a loan in an aggregate amount of up to
                      $25,000 (the “DIP Loan”). The DIP Loan shall be used to pay necessary
                      insurance premiums and reimburse for DIP Lender’s counsel expenses
                      related to the DIP Loan.
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  Junior Liens and All obligations under the DIP Loan shall at all times:
  Administrative
  claim            (i) be entitled, pursuant to Section 364(c)(1) of the Bankruptcy Code, to
                   administrative claim status having the same priority as all other
                   administrative claims (subject to the Carve-Out and the Professional Fee
                   Reserve as set forth below) (the “DIP Admin Claim”);

                       (ii) be secured, pursuant to Section 364(c) of the Bankruptcy Code, by a
                        perfected junior lien on all now-owned or after-acquired Property (as
                        defined below) of the Borrower (the “DIP Liens”). All of the DIP Liens
                        described herein with respect to the Property shall be deemed effective
                        and perfected by the entry of the Interim and the Final Order and without
                        the necessity or filing of the execution of mortgages, security
                        agreements, pledge agreements, financing statements, control
                        agreements, or other agreements.

  Maturity             The DIP Loan shall be repaid in full on the earliest to occur (the “Maturity
                       Date”) of (i) on December 31, 2024; (ii) the date the Bankruptcy Court
                       enters an order converting the bankruptcy case of the Debtor to a Chapter
                       7 liquidation, dismissing the bankruptcy case of the Debtor, or appointing
                       a trustee; (iii) the occurrence of an Event of Default under the DIP Loan
                       Documents that has not been cured as provided herein; or (iv) the sale or
                       refinancing of all or substantially all of the Debtor’s Property.
  Use of Proceeds      Subject to the terms and conditions herein, the proceeds of DIP Loan will
                       be used solely to pay necessary insurance premiums and reimburse DIP
                       Lender’s attorneys fees in connection with the DIP Loan.
  Interest Rate        No interest shall accrue on the Loan




  Voluntary            The DIP Loan may be permanently prepaid in full by the Borrower at any
  Prepayments          time without premium or penalty.

  Events of Default    The following will constitute events of default (the “Events of Default”)
                       under the DIP Loan: (i) Debtor’s failure to comply with the terms of any
                       related Interim Order or the Final Order; (ii) the obtaining of credit or the
                       incurrence of indebtedness that is equal to or senior to the liens and
                       claims of DIP Lender, or entitled to priority administrative status which
                       is equal or senior to that granted to the DIP Lender herein; (iii)
                       termination of DIP Lender’s lien or security interest or assertion by
                       Borrower that DIP Lender’s lien is not valid or perfected; (iv) relief from
                       stay granted (a) to allow any creditor to execute upon or enforce a lien on
                       or security interest in any Collateral and the subsequent commencement
                       of a foreclosure action in connection therewith, or (b) with respect to any
                       lien of or the granting of any lien on any Collateral to any state or local
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                       environmental or regulatory agency or authority and the subsequent
                       commencement of a foreclosure action in connection therewith, which
                       liens would have a material adverse effect on the business, operations,
                       property, assets, or condition, financial or otherwise, of the Borrower; (v)
                       the reversal, vacatur, or modification (without the express prior written
                       consent of the DIP Lender, in its sole discretion) of the Interim Order or
                       the Final Order; (vi) dismissal or conversion of the Chapter 11 Case, or
                       appointment of a chapter 11 trustee or examiner; (vii) the sale of any
                       portion of the Borrower’s Property outside the ordinary course of
                       business without the prior written consent of the DIP Lender, in its sole
                       discretion, or without the repayment in full of the DIP Loan in connection
                       therewith; (viii) the granting of any motion providing for reconsideration,
                       stay, or vacatur of the Interim Order or the Final Order.

  Remedies             Immediately upon the occurrence and during the continuation of an Event
                       of Default and without notice, the DIP Lender may (i) (a) declare all
                       obligations to be immediately due and payable, (b) charge default interest
                       on the sums outstanding on the DIP Loan, and (iii) seek any and all
                       customary remedies, including, without limitation, the right to foreclose
                       and realize on all collateral. DIP Lender shall not, by any act, delay,
                       omission or otherwise be deemed to have expressly or impliedly waived
                       any of its rights or remedies unless such waiver shall be in writing and
                       signed by an authorized officer of DIP Lender. A waiver by DIP Lender
                       of any right or remedy on any one occasion shall not be construed as a bar
                       to or waiver of any such right or remedy which DIP Lender would
                       otherwise have on any future occasion, whether similar in kind or
                       otherwise.
  Release              The Borrower will provide customary releases for any claims, demands,
                       liabilities, responsibilities, disputes, remedies, causes of action,
                       indebtedness or obligations related to or arising out of the DIP Loan (the
                       “Release”).

  Governing Law        The DIP Loan Documents will provide that the Borrower will submit to
                       the non-exclusive jurisdiction and venue of the Bankruptcy Court, or in
                       the event that the Bankruptcy Court does not have or does not exercise
                       jurisdiction, then in any state or federal court of competent jurisdiction in
                       the State of Florida; and shall waive any right to trial by jury. Florida law
                       shall govern the DIP Loan Documents except to the extent preempted by
                       federal bankruptcy laws.

The preceding summary of proposed terms and conditions is not intended to be all-inclusive. Any
terms and conditions that are not specifically addressed above would be subject to future
negotiations with the DIP Lender and comprehensive documentation of the transaction that is
acceptable to the DIP Lender will have to be prepared.


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       IN WITNESS WHEREOF, the undersigned have caused this Term Sheet to be executed
and delivered by their duly authorized officers, as of May __, 2024.


                                        7233 Los Pinos, LLC, as Borrower

                                        By:    ___________________________
                                        Name:
                                        Title:


                                        ___________________________
                                       Jennie Frank Kapoor




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